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                        IN THE UNITED STATES BANKRUPTCY COURT
                             FOR THE DISTRICT OF DELAWARE

    In re                                                           Chapter 11

                                                                     Case No. 23-10831 (MFW)
    Lordstown Motors Corp., et al.,1
                                                                     (Jointly Administered)
                                          Debtors.
                                                                     Re: Docket No. 776 & 808


     CERTIFICATION OF COUNSEL REGARDING DEBTORS’ FIRST OMNIBUS
    MOTION FOR ENTRY OF AN ORDER (I) AUTHORIZING THE ASSUMPTION OF
        CERTAIN EXECUTORY CONTRACTS, (II) FIXING CURE COSTS IN
        CONNECTION THERETO, AND (III) GRANTING RELATED RELIEF

            The undersigned counsel to the above-captioned debtors and debtors-in-possession (the

“Debtors”) hereby certifies as follows:

            1.     On December 5, 2023, the Debtors filed the Debtors’ First Omnibus Motion for

Entry of an Order (I) Authorizing the Assumption of Certain Executory Contracts,

(II) Fixing the Cure Costs in Connection Thereto and (II) Granting Related Relief (the “Motion”)

with the United States Bankruptcy Court for the District of Delaware (the “Court”).

            2.     On December 11, 2023, the Debtors filed the Notice of Filing of Revised Proposed

Order Regarding Debtors’ First Omnibus Motion for Entry of an Order (I) Authorizing the

Assumption of Certain Executory Contracts, (II) Fixing the Cure Costs in Connection Thereto and

(II) Granting Related Relief [Docket No. 808] (the “Revised Proposed Order”).

            3.     Pursuant to the notice filed with the Motion, any objection or response to the relief

requested in the Motion was to be filed and served so as to be received no later than December

12, 2023 at 4:00 p.m. (Eastern Time) (the “Objection Deadline”).



1        The Debtors and the last four digits of their respective taxpayer identification numbers are: Lordstown Motors
Corporation (3239); Lordstown EV Corporation (2250); and Lordstown EV Sales LLC (9101). The Debtors’ service
address is 27000 Hills Tech Ct., Farmington Hills, MI 48331.
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       4.      Prior to the Objection Deadline, the Debtors received an informal response (the

“Informal Responses”) from TERIS-Phoenix, LLC (“TERIS”).                Other than the Informal

Response, the Debtors received no other responses to the Motion and no objections or responses

were filed on the Docket.

       5.      Attached hereto as Exhibit A is a further revised proposed order (the “Further

Revised Proposed Order”) which resolves the Informal Response. The Debtors have resolved

Informal Response of TERIS through revisions to the Further Revised Proposed Order and

adjustment of the cure amount on the schedule thereto. For the convenience of the Court and all

parties in interest, a blackline of the Further Revised Proposed Order against the Revised Proposed

Order filed on December 11, 2023 is attached hereto as Exhibit B.

       WHEREFORE, the Debtors respectfully request that the Further Revised Proposed Order,

attached hereto as Exhibit A, be entered at the earliest convenience of the Court.




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Dated: March 3, 2024
Wilmington, Delaware

 /s/ Morgan L. Patterson
 WOMBLE BOND DICKINSON (US) LLP                    WHITE & CASE LLP
 Donald J. Detweiler (DE Bar No. 3087)             Thomas E Lauria (admitted pro hac vice)
 Morgan L. Patterson (DE Bar No. 5388)             Matthew C. Brown (admitted pro hac vice)
 1313 North Market Street, Suite 1200              Fan B. He (admitted pro hac vice)
 Wilmington, Delaware 19801                        200 South Biscayne Boulevard, Suite 4900
 Telephone: (302) 252-4320                         Miami, FL 33131
 Facsimile: (302) 252-4330                         Telephone: (305) 371-2700
 don.detweiler@wbd-us.com                          tlauria@whitecase.com
 morgan.patterson@wbd-us.com                       mbrown@whitecase.com
                                                   fhe@whitecase.com
 Counsel to the Debtors and Debtors in
 Possession                                        David M. Turetsky (admitted pro hac vice)
                                                   1221 Avenue of the Americas
                                                   New York, NY 10020
                                                   Telephone: (212) 819-8200
                                                   david.turetsky@whitecase.com

                                                   Jason N. Zakia (admitted pro hac vice)
                                                   111 South Wacker Drive, Suite 5100
                                                   Chicago, IL 60606
                                                   Telephone: (312) 881-5400
                                                   jzakia@whitecase.com

                                                   Roberto Kampfner (admitted pro hac vice)
                                                   Doah Kim (admitted pro hac vice)
                                                   RJ Szuba (admitted pro hac vice)
                                                   555 South Flower Street, Suite 2700
                                                   Los Angeles, CA 90071
                                                   Telephone: (213) 620-7700
                                                   rkampfner@whitecase.com
                                                   doah.kim@whitecase.com
                                                   rj.szuba@whitecase.com

                                                   Counsel to Debtors and
                                                   Debtors in Possession




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WBD (US) 4870-4226-4472v1
